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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION


                                                              CASE NO. _________-
 Jamila Grice, on behalf of herself
 and all others similarly situated,

                    Plaintiff,                                  COMPLAINT
        v.

 Independent Bank,
                                                                JURY TRIAL DEMANDED
                    Defendant.



                                 CLASS ACTION COMPLAINT

       Plaintiff Jamila Grice (“Plaintiff”), on behalf of herself and all persons similarly situated,

alleges the following based on personal knowledge as to the allegations regarding herself and on

information and belief as to other allegations.


                                        INTRODUCTION

       1.      This is a civil action seeking monetary damages, restitution and declaratory relief

from Defendant, Independent Bank (“Independent”), arising from (1) the unfair and

unconscionable assessment and collection of “overdraft fees” (“OD Fees”) on accounts that were

never actually overdrawn; (2) for routinely charging more than one OD Fees or non-sufficient

funds fees (“NSF Fee”) on a single transaction; and (3) for its unfair and unconscionable

assessment of two out-of-network ATM fees (“OON Fees”) on out-of-network ATM withdrawals

preceded by a balance inquiry.

       2.      These practices breach contractual promises made in Independent’s adhesion

contracts and constitute deceptive practices.

       3.      In plain, clear, and simple language, the checking account contract documents


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discussing OD Fees promise that Independent will only charge OD Fees or NSF Fees on

transactions where there are insufficient funds to cover them; will only charge one such fee on a

given item; and will assess a single OON Fee for ATM withdrawals. Independent breaches each

of these promises.

       4.      Independent also breaches its duty of good faith and fair dealing when it charges

fee in the above circumstances.

       5.      Independent’s customers have been injured by Independent’s improper practices to

the tune of millions of dollars billed from their accounts in violation of their agreements with

Independent.

       6.      On behalf of herself and the Classes, Plaintiff seeks damages, restitution, and

injunctive relief for Defendant’s violations as set forth more fully below.

                                         JURISDICTION

       7.      This Court has original jurisdiction over this putative class action lawsuit pursuant

to the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) & (6), because the aggregate

sum of the claims of the members of each of the putative class exceeds $5 million, exclusive of

interest and costs, because Plaintiff bring this action on behalf of proposed class that are each

comprised of over one hundred members, and because at least one of the members of each of the

proposed class is a citizen of a different state than Defendant.

       8.      Venue is appropriate under 28 U.S.C. § 1391(b) because Defendant resides in this

District and is the only Defendant in this action.




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                                             PARTIES


        9.     Plaintiff Jamila Grice, nee Thomas is a citizen of South Carolina and resident of

Spartanburg, SC.

        10.    Defendant Independent Bank has nearly $4 billion in assets and maintains its

headquarters in Grand Rapids, Michigan.

   I.   INDEPENDENT CHARGES OD FEES ON TRANSACTIONS THAT DO NOT
        ACTUALLY OVERDRAW THE ACCOUNT

               A.      Overview of Claim

        11.    Independent issues debit cards to its checking account customers, including

Plaintiff, which allows its customers to have electronic access to their checking accounts for

purchases, payments, withdrawals and other electronic debit transactions.

        12.    Pursuant to its Account Documents, Independent charges fees for debit card

transactions that purportedly result in an overdraft.

        13.    Plaintiff brings this cause of action challenging Independent’s practice of charging

OD Fees on what are referred to in this complaint as “Authorize Positive, Purportedly Settle

Negative Transactions” (“APPSN Transactions”).

        14.    Here’s how it works. At the moment debit card transactions are authorized on an

account with positive funds to cover the transaction, Independent immediately reduces

accountholders checking accounts for the amount of the purchase, sets aside funds in a checking

account to cover that transaction, and as a result, the accountholder’s displayed “available balance”

reflects that subtracted amount. As a result, customers’ accounts will always have sufficient

available funds to cover these transactions because Independent has already sequestered these

funds for payment.



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       15.     However, Independent still assesses crippling OD Fees on many of these

transactions and mispresents its practices in its Account Documents.

       16.     Despite putting aside sufficient available funds for debit card transactions at the

time those transactions are authorized, Independent later assesses OD Fees on those same

transactions when they purportedly settle days later into a negative balance. These types of

transactions are APPSN Transactions.

       17.     Independent maintains a running account balance in real time, tracking funds

accountholders have for immediate use. This running account balance is adjusted, in real-time, to

account for debit card transactions at the precise instance they are made. When a customer makes

a purchase with a debit card, Independent sequesters the funds needed to pay the transaction,

subtracting the dollar amount of the transaction from the customer’s available balance. Such funds

are not available for any other use by the accountholder, and such funds are specifically associated

with a given debit card transaction.

       18.     Indeed, the entire purpose of the immediate debit and hold of positive funds is to

ensure that there are enough funds in the account to pay the transaction when it settles, as discussed

in the Federal Register notice announcing revisions to certain provisions of the Truth in Lending

Act regulations:

       When a consumer uses a debit card to make a purchase, a hold may be placed on
       funds in the consumer’s account to ensure that the consumer has sufficient funds in
       the account when the transaction is presented for settlement. This is commonly
       referred to as a “debit hold.” During the time the debit hold remains in place, which
       may be up to three days after authorization, those funds may be unavailable for the
       consumer’s use for other transactions.

Federal Reserve Board, Office of Thrift Supervision, and National Credit Union Administration,

Unfair or Deceptive Acts or Practices, 74 FR 5498-01 (Jan. 34, 2009).




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       19.     That means when any subsequent, intervening transactions are initiated on a

checking account, they are compared against an account balance that has already been reduced to

account for any earlier debit card transactions. This means that many subsequent transactions incur

OD Fees due to the unavailability of the funds sequestered for those debit card transactions.

       20.     Still, despite keeping those held funds off-limits for other transactions, Independent

improperly charges OD Fees on those APPSN Transactions, although the APPSN Transactions

always have sufficient available funds to be covered.

       21.     Indeed, the Consumer Financial Protection Bureau (“CFPB”) has expressed

concern with this very issue, flatly calling the practice “unfair” and/or “deceptive” when:

       A financial institution authorized an electronic transaction, which reduced a
       customer’s available balance but did not result in an overdraft at the time of
       authorization; settlement of a subsequent unrelated transaction that further lowered
       the customer’s available balance and pushed the account into overdraft status; and
       when the original electronic transaction was later presented for settlement, because
       of the intervening transaction and overdraft fee, the electronic transaction also
       posted as an overdraft and an additional overdraft fee was charged. Because such
       fees caused harm to consumers, one or more supervised entities were found to have
       acted unfairly when they charged fees in the manner described above. Consumers
       likely had no reason to anticipate this practice, which was not appropriately
       disclosed. They therefore could not reasonably avoid incurring the overdraft fees
       charged. Consistent with the deception findings summarized above, examiners
       found that the failure to properly disclose the practice of charging overdraft fees in
       these circumstances was deceptive. At one or more institutions, examiners found
       deceptive practices relating to the disclosure of overdraft processing logic for
       electronic transactions. Examiners noted that these disclosures created a
       misimpression that the institutions would not charge an overdraft fee with respect
       to an electronic transaction if the authorization of the transaction did not push the
       customer’s available balance into overdraft status. But the institutions assessed
       overdraft fees for electronic transactions in a manner inconsistent with the overall
       net impression created by the disclosures. Examiners therefore concluded that the
       disclosures were misleading or likely to mislead, and because such misimpressions
       could be material to a reasonable consumer’s decision-making and actions,
       examiners found the practice to be deceptive. Furthermore, because consumers
       were substantially injured or likely to be so injured by overdraft fees assessed


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       contrary to the overall net impression created by the disclosures (in a manner not
       outweighed by countervailing benefits to consumers or competition), and because
       consumers could not reasonably avoid the fees (given the misimpressions created
       by the disclosures), the practice of assessing fees under these circumstances was
       found to be unfair.

Consumer Financial Protection Bureau, Winter 2015 “Supervisory Highlights.”

       22.     There is no justification for these practices, other than to maximize Independent’s

OD Fee revenue. APPSN Transactions only exist because intervening checking account

transactions supposedly reduce an account balance. But Independent is free to protect its interests

and either reject those intervening transactions or charge OD Fees on those intervening

transactions—and it does the latter to the tune of millions of dollars each year. But Independent

was not content with these millions in OD Fees. Instead, it sought millions more in OD Fees on

these APPSN Transactions.

       23.     Besides being unfair and unjust, these practices breach contract promises made in

Independent’s adhesion contracts—contracts which fail to inform accountholders about, and in

fact, misrepresent, the true nature of Independent’s processes and practices. These practices also

exploit contractual discretion to gouge accountholders.

       24.     In plain, clear, and simple language, the checking account contract documents

covering OD Fees promise that Independent will only charge OD Fees on transactions that have

insufficient funds to “cover” that debit card transaction.

       25.     In short, Independent is not authorized by contract to charge OD Fees on

transactions that have not overdrawn an account, but it has done so and continues to do so.

       A.      Mechanics of a Debit Card Transaction

       26.     A debit card transaction occurs in two parts. First, authorization for the purchase

amount is instantaneously obtained by the merchant from Independent. When a merchant



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physically or virtually “swipes” a customer’s debit card, the credit card terminal connects, via an

intermediary, to Independent, which verifies that the customer’s account is valid and that sufficient

available funds exist to “cover” the transaction amount.

       27.     At this step, if the transaction is approved, Independent immediately decrements

the funds in an accountholder’s account and sequesters funds in the amount of the transaction but

does not yet transfer the funds to the merchant.

       28.     Indeed, the entire purpose of the immediate debit and hold of positive funds is to

ensure that there are enough funds in the account to pay the transaction when it settles, as discussed

in the Federal Register notice announcing revisions to certain provisions of the Truth in Lending

Act regulations:

       When a consumer uses a debit card to make a purchase, a hold may be placed on
       funds in the consumer’s account to ensure that the consumer has sufficient funds in
       the account when the transaction is presented for settlement. This is commonly
       referred to as a “debit hold.” During the time the debit hold remains in place, which
       may be up to three days after authorization, those funds may be unavailable for the
       consumer’s use for other transactions.

Federal Reserve Board, Office of Thrift Supervision, and National Credit Union Administration,

Unfair or Deceptive Acts or Practices, 74 FR 5498-01 (Jan. 34, 2009).

       29.     Sometime thereafter, the funds are actually transferred from the customer’s account

to the merchant’s account.

       30.     Independent (like all credit unions and banks) decides whether to “pay” debit card

transactions at authorization. After that, Independent is obligated to pay the transaction no matter

what. For debit card transactions, that moment of decision can only occur at the point of sale, at

the instant the transaction is authorized or declined. It is at that point—and only that point—when

Independent may choose to either pay the transaction or decline it. When the time comes to actually




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settle the transaction, it is too late—the financial institution has no discretion and must pay the

charge. This “must pay” rule applies industry wide and requires that, once a financial institution

authorizes a debit card transaction, it “must pay” it when the merchant later makes a demand,

regardless of other account activity. See Electronic Fund Transfers, 74 Fed. Reg. 59033-01, 59046

(Nov. 17, 2009).

       31.     There is no change—no impact whatsoever—to the available funds in an account

when this step occurs.

       B.      Independent’s Account Contract

       32.     Plaintiff has a Independent checking account, which is governed by Independent’s

Account Documents.

       33.     Amongst the Account Documents which governs Plaintiff’s relationship with

Independent is a document entitled, “Account Agreement,” attached hereto as Exhibit A.

       34.     The Account Agreement states in pertinent part that Independent will immediately

deduct available funds for “pending” debit card transactions, and that for purposes of determining

overdrafts “authorization” and “payment” are coterminous:


       If your account lacks sufficient funds to pay a check, preauthorized transfer, or other
       debit activity presented for payment as determined by the available balance or actual
       balance in your account, we may (1) return the item, or (2) pay the item at our discretion.

               Available Balance. The available balance is the amount of funds that you have
               in your account to spend without incurring an overdraft fee. The available
               balance reflects pending debits and transactions and checks that not yet cleared
               your account. For example, you have $100 in your account and spend $25 on
               groceries. The $25 may show as a pending transaction, and your available
               balance is $75. If you spend more than the available balance, then you may incur
               an overdraft fee.

               Actual Balance. The actual balance is the total amount of funds in your account
               and does not reflect any pending credits or debits, transactions, or checks that
               have not cleared your account. For example, you have $100 in your account and



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               spend $25 on groceries. The $25 may show as a pending transaction, but the
               $100 is your actual account balance and the amount you can spend before you
               incur and overdraft fee.


       If we return the item without paying it, we may charge you a non-sufficient funds fee. If
       we do pay the item on your behalf, you will be responsible to pay the overdrawn balance
       and an overdraft fee.

       […]

       As part of our offered standard overdraft practice we do not authorize and pay overdrafts
       on ATM or everyday debit card transactions unless you request us to do so.


Account Agreement at 2.

       35.     Further, the Overdraft Opt-in Form, attached hereto as Exhibit B, misrepresents to

customers that OD Fees will only be charged when there is not enough money in the account to

“cover” a transaction, while also reiterating that for debit card transactions, “authorization” and

“payment” are coterminous:

       An overdraft occurs when you do not have enough money in your account to cover a
       transaction, but we pay it anyway.

       We can cover your overdrafts in two different ways:

       We have standard overdraft practices that come with your account.

       We also offer overdraft protection plans, such as a link to a savings account, which may
       be less expensive than our standard overdraft practices. To learn more, ask us about these
       plans. This notice explains our standard overdraft practices.

       What are the standard overdraft practices that come with my account? We do authorize
       and pay overdrafts for the following types of transactions:
                   Checks and other transactions made using your checking account number
                   Automatic bill payments We do not authorize and pay overdrafts for the
                      following types of transactions unless you ask us to (see below):
                   ATM transactions
                   One-time debit card transactions




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       We pay overdrafts at our discretion, which means we do not guarantee that we will
       always authorize and pay any type of transaction. If we do not authorize and pay an
       overdraft, your transaction will be declined.

       36.      According to the Electronic Funds Transfer Disclosure, Ex. C, Independent reduces

an account balance at the time of a point of sale debit card transaction, and will refuse or return

any subsequent transactions that threaten to consume funds needed to “pay for” such debit card

transactions:

       POINT OF SALE TRANSACTIONS. [] Purchases made with your [debit] card, including
       any purchase where you receive cash, are referred to as “Point of Sale” transactions and
       will cause your “designated account” to be debited for the amount of the purchase. We
       have the right to return any check or other item drawn against your account to ensure there
       are funds available to pay for any Point of Sale transaction. We may, but do not have to,
       allow transactions which exceed your available account balance or, if applicable, your
       available overdraft protection. If we do, you agree to pay the overdraft.


       37.      For debit card transactions, the bank decides whether to “authorize and pay” a

transaction at the moment the request is made, thus immediately reducing the available balance.

       38.      For APPSN Transactions, which are immediately deducted from a positive account

balance and held aside for payment of that same transaction, there are always funds to cover those

transactions—yet Independent assesses OD Fees on them anyway.

       39.      The above promise means that transactions are only overdraft transactions when

they are authorized into a negative account balance. Of course, that is not true for APPSN

Transactions.

       40.      APPSN transactions are always initiated at the time the customer swipes the debit

card when there are sufficient available funds in the account.

       41.      In fact, Independent actually authorizes transactions on positive funds, sets those

funds aside on hold, then fails to use those same funds to settle those same transactions. Instead, it

uses a secret posting process described below.



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       42.     All the above representations and contractual promises are untrue. In fact,

Independent charges OD Fees even when sufficient funds exist to cover transactions that are

authorized into a positive balance. No express language in any document states that Independent

may impose OD Fees on any APPSN Transactions.

       43.     The Account Documents misconstrues Independent’s true debit card processing

and overdraft practices.

       44.     First, and most fundamentally, Independent charges OD Fees on debit card

transactions for which there are sufficient funds available to cover the transactions. That is despite

contractual representations that Independent will only charge OD Fees on transactions with

insufficient available funds to cover a given transaction.

       45.     Independent assesses OD Fees on APPSN Transactions that do have sufficient

funds available to cover them throughout their lifecycle.

       46.     Independent’s practice of charging OD Fees even when sufficient available funds

exist to cover a transaction violates a contractual promise not to do so. This discrepancy between

Independent’s actual practice and the contract causes accountholders like the Plaintiff to incur

more OD Fees than they should.

       47.     Next, sufficient funds for APPSN Transactions are actually debited from the

account immediately, consistent with standard industry practice.

       48.     Because these withdrawals take place upon initiation, they cannot be re-debited

later. But that is what Independent does when it re-debits the account during a secret batching

posting process.

       49.     In reality, Independent’s actual practice is to assay the same debit card transaction

twice to determine if the transaction overdraws an account—both at the time a transaction is




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authorized and later at the time of settlement.

       50.     At the time of settlement, however, an available balance does not change at all for

these transactions previously authorized into good funds. As such, Independent cannot then charge

an OD Fee on such transaction because the available balance has not been rendered insufficient

due to the pseudo-event of settlement.

       51.     Upon information and belief, something more is going on: at the moment a debit

card transaction is getting ready to settle, Independent does something new and unexpected, during

the middle of the night, during its nightly batch posting process. Specifically, Independent releases

the hold placed on funds for the transaction for a split second, putting money back into the account,

then re-debits the same transaction a second time.

       52.     This secret step allows Independent to charge OD Fees on transactions that never

should have caused an overdraft—transactions that were authorized into sufficient funds, and for

which Independent specifically set aside money to pay them.

       53.     This discrepancy between Independent’s actual practices and the contract causes

accountholders to incur more OD Fees than they should.

       54.     In sum, there is a huge gap between Independent’s practices as described in the

Account Documents and Independent’s practices in reality.

       C.      Independent Abuses Contractual Discretion

       55.     Independent’s treatment of debit card transactions to charge OD Fees is more than

a breach of the express terms of the numerous Account Documents. In addition, Independent

exploits contractual discretion to the detriment of accountholders when it uses these policies.

       56.     Moreover, Independent uses its contractual discretion to cause APPSN

Transactions to incur OD Fees by knowingly authorizing later transactions that it allows to




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consume available funds previously sequestered for APPSN Transactions.

       57.     Independent uses these contractual discretion points unfairly to extract OD Fees on

transactions that no reasonable accountholder would believe could cause OD Fees.

       D.      Plaintiff’s Debit Card Transactions

       58.     As an examples, on July 6, 2016, January 22, 2018, and April 22, 2019, Plaintiff

was assessed OD Fees in the amount of $34.00 each for debit card transactions that settled on those

days, despite the fact that positive funds were deducted immediately, prior to that day, for the

transactions on which Plaintiff was assessed OD Fees.



 II.   INDEPENDENT CHARGES TWO OR MORE FEES ON THE SAME ITEM

       59.     As alleged more fully herein, Independent’s Account Documents allow it to take

certain steps when its accountholders attempt a transaction but do not have sufficient funds to

cover it. Specifically, Independent may (a) authorize the transaction and charge a single OD Fee;

or (b) reject the transaction and charge a single NSF Fee.

       60.     In contrast to its Account Documents, however, Independent regularly assesses two

or more NSF Fees on the same item or transaction.

       61.     This abusive practice is not universal in the financial services industry. Indeed,

major banks like Chase—the largest consumer bank in the country—do not undertake the practice

of charging more than one NSF Fee on the same item when it is reprocessed. Instead, Chase

charges one NSF Fee even if a transaction is resubmitted for payment multiple times.

       62.     Independent’s Account Documents never disclose this practice. To the contrary,

Independent’s Account Documents indicate it will only charge a single NSF Fee on an item or per

transaction.




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   A. Plaintiff’s Experience

       63.     In support of her claims, Plaintiff offers an example of NSF Fees that should not

have been assessed against her checking account. As alleged below, Independent: (a) reprocessed

a previously declined item; and (b) charged a fee upon reprocessing.

       64.     On December 20, 2017, Plaintiff attempted a single payment via ACH.

       65.     Independent rejected payment of that item due to insufficient funds in Plaintiff’s

account and charged her a $34 NSF Fee for doing so. Plaintiff does not dispute the initial fee, as it

is allowed by Independent Account Documents.

       66.     Then three days later, on December 23, 2017, Independent again rejected the

payment, and charged a second $34 NSF Fee. Independent labeled the payment a RETRY PYMT

on her statements.

       67.     In sum, Independent charged Plaintiff $68 in fees to attempt to process a single

payment.

       68.     Plaintiff understood the payment to be a single transaction as is laid out in

Independent’s Account Documents, capable at most of receiving a single NSF Fee (if Independent

returned it) or a single OD Fee (if Independent paid it).

       69.     The same pattern occurred numerous times for Plaintiff, with Independent charging

multiple fees for a single item, including on December 21 and December 27, 2017.

   B. The Imposition of Multiple Fees on a Single Transaction Violates Independent’s
      Express Promises and Representations

       70.     The Account Documents provide the general terms of Plaintiff’s relationship with

Independent and therein Independent makes explicit promises and representations regarding how

transactions will be processed, as well as when NSF Fees and OD Fees may be assessed.




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        71.     The Account Documents contain explicit terms indicating that fees will only be

assessed once per transaction or single item—defined as a customer request for payment or

transfer—when in fact Independent regularly charges two or more fees per transaction or single

item even though a customer only requested the payment or transfer once.

        72.     Independent’s Account Documents indicate that a singular NSF Fee can be assessed

on checks, ACH debits, and electronic payments.

        73.     Independent’s Account Documents state that it will charge a single fee per item or

transaction that is returned due to insufficient funds.

        74.     The same “item” cannot conceivably become a new one each time it is rejected for

payment then reprocessed, especially when—as here—Plaintiff took no action to resubmit it.

        75.     There is zero indication anywhere in the Account Documents that the same “item”

or “transaction” is eligible to incur multiple NSF Fees.

        76.     The same “item” on an account cannot conceivably become a new “item” each time

it is rejected for payment then reprocessed, especially when—as here—Plaintiff took no action to

reprocess it.

        77.     There is zero indication anywhere in the Account Documents that the same “item”

is eligible to incur multiple fees.

        78.     The Account Agreement states:

        If we return the item without paying it, we may charge you a non-sufficient funds fee. If
        we do pay the item on your behalf, you will be responsible to pay the overdrawn balance
        and an overdraft fee…Our handling of these items may subject your account to a fee as
        disclosed in the Fee Schedule or other Disclosures.


        79.     The Fee Schedule, Exhibit D, indicates that only a single NSF Fee or OD Fee would

be charged per item:




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       Non-sufficient funds/overdraft^: $5.00 courtesy threshold/fees capped at five per day
       Return item fee (per item) $34.00
       Overdraft fee (per paid item) $34.00
       ^ Fees apply to overdrafts created by check, in-person withdrawal, ATM withdrawal, or
       other electronic means, as applicable.

       80.     Even if Independent reprocesses an instruction for payment, it is still the same item.

Independent’s reprocessing is simply another attempt to effectuate an accountholder’s original

order or instruction.

       81.     The Account Documents described never discuss a circumstance where

Independent may assess multiple NSF Fees for a single item that was returned for insufficient

funds and later reprocessed one or more times and returned again.

       82.     In sum, Independent promises that one NSF Fee will be assessed per electronic

payment or check, and these terms must mean all iterations of the same instruction for payment.

As such, Independent breached the contract when it charged more than one fee per item.

       83.     Reasonable consumers understand any given authorization for payment to be one,

singular “item” as that term is used in Independent’s Account Documents.

       84.     Taken together, the representations and omissions identified above convey to

customers that all submissions for payment of the same transaction will be treated as the same

“item,” which Independent will either authorize (resulting in an overdraft item) or reject (resulting

in a returned item) when it decides there are insufficient funds in the account. Nowhere does

Independent disclose that it will treat each reprocessing of a check or ACH payment as a separate

item, subject to additional fees, nor have Independent customers ever agree to such fees or

practices.

       85.     Customers reasonably understand, based on the language of the Account

Documents and Independent’s other documents, that the Bank’s reprocessing of checks or ACH




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payments are simply additional attempts to complete the original order or instruction for payment,

and as such, will not trigger NSF Fees. In other words, it is always the same item or transaction.

        86.     Banks and credit unions, like Independent, that employ this abusive practice know

how to plainly and clearly disclose it. Indeed, other banks and credit unions that do engage in this

abusive practice disclose it expressly to their accountholders—something Independent never did

here.

        87.     For example, First Hawaiian Bank engages in the same abusive practices as PCU,

but at least currently discloses it in its online banking agreement, in all capital letters, as follows:

        YOU AGREE THAT MULTIPLE ATTEMPTS MAY BE MADE TO SUBMIT A
        RETURNED ITEM FOR PAYMENT AND THAT MULTIPLE FEES MAY BE
        CHARGED TO YOU AS A RESULT OF A RETURNED ITEM AND
        RESUBMISSION.

Terms and Conditions of FHB Online Services, First Hawaiian Bank 40, https://www. fhb.com/

en/assets/File/Home_Banking/FHB_Online/Terms_and_Conditions_of_FHB_Online_Services_

RXP1.pdf (last accessed September 25, 2019) (emphasis added).


        88.     Klein Bank similarly states in its online banking agreement:

        [W]e will charge you an NSF/Overdraft Fee each time: (1) a Bill Payment
        (electronic or check) is submitted to us for payment from your Bill Payment
        Account when, at the time of posting, your Bill Payment Account is overdrawn,
        would be overdrawn if we paid the item (whether or not we in fact pay it) or does
        not have sufficient available funds; or (2) we return, reverse, or decline to pay an
        item for any other reason authorized by the terms and conditions governing your
        Bill Payment Account. We will charge an NSF/Overdraft Fee as provided in
        this section regardless of the number of times an item is submitted or
        resubmitted to us for payment, and regardless of whether we pay the item or
        return, reverse, or decline to pay the bill payment.




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Consumer     and    Small     Business    Online        Access    Agreement,   Klein   Bank     ¶   H,

https://www.kleinbankonline.com/bridge/disclosures/ib/disclose.html (last accessed September

25, 2019) (emphasis added).


       89.      Central Pacific Bank, a leading bank in Hawai’i, states in its Fee Schedule under

the “MULTIPLE NSF FEES” subsection:

       Items and transactions (such as, for example, checks and electronic
       transactions/payments) returned unpaid due to insufficient/non-sufficient (“NSF”)
       funds in your account, may be resubmitted one or more times for payment, and a
       $32 fee will be imposed on you each time an item and transaction resubmitted for
       payment is returned due to insufficient/nonsufficient funds.

Miscellaneous      Fee      Schedule,    Central        Pacific    Bank   1    (Feb.    15,     2019),

https://www.centralpacificbank.com/PDFs/Miscellaneous-Fee-Schedule.aspx.


       90.      BP Credit Union likewise states: “We may charge a fee each time an item is

submitted or resubmitted for payment; therefore, you may be assessed more than one fee as a result

of a returned item and resubmission(s) of the returned item.”

       91.      Regions Bank likewise states:

       If an item is presented for payment on your account at a time when there is an
       insufficient balance of available funds in your account to pay the item in full, you
       agree to pay us our charge for items drawn against insufficient or unavailable funds,
       whether or not we pay the item. If any item is presented again after having
       previously been returned unpaid by us, you agree to pay this charge for each time
       the item is presented for payment and the balance of available funds in your account
       is insufficient to pay the item.



https://www.regions.com/virtualdocuments/Deposit_Agreement_6_1_2018.pdf.


       92.      First Financial Bank states, “Merchants or payees may present an item multiple

times for payment if the initial or subsequent presentment is rejected due to insufficient funds or


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other reason (representment). Each presentment is considered an item and will be charged

accordingly.” Special Handling/Electronic Banking Disclosures of Charges, First Financial Bank

2        (Aug.          2018),          https://www.bankatfirst.com/content/dam/first-financial-

bank/eBanking_Disclosure _of_ Charges.pdf.

       93.    Andrews Federal Credit Union states, “

       You understand and agree that a merchant or other entity may make multiple
       attempts to resubmit a returned item for payment. Consequently, because we may
       charge a service fee for an NSF item each time it is presented, we may charge you
       more than one service fee for any given item. Therefore, multiple fees may be
       charged to you as a result of a returned item and resubmission regardless of the
       number of times an item is submitted or resubmitted to use for payment, and
       regardless of whether we pay the item or return, reverse, or decline to pay the
       item. When we charge a fee for NSF items, the charge reduces the available
       balance in your account and may put your account into (or further into) overdraft.

https://www.andrewsfcu.org/AndrewsFCU/media/Documents/Terms-and-
Conditions_REBRANDED_Dec2019-Update.pdf

       94.    Consumers Credit Union states:

       Consequently, because we may charge a service fee for an NSF item each time it
       is presented, we may charge you more than one service fee for any given item.
       Therefore, multiple fees may be charged to you as a result of a returned item and
       resubmission regardless of the number of times an item is submitted or
       resubmitted to us for payment, and regardless of whether we pay the item or
       return, reverse, or decline to pay the item.

https://www.myconsumers.org/docs/default-source/default-document-
library/ccu_membership_booklet_complete.pdf?sfvrsn=6

       95.    Wright Patt Credit Union states:

       Consequently, because we may charge a service fee for an NSF item each time it
       is presented, we may charge you more than one service fee for any given item.
       Therefore, multiple fees may be charged to you as a result of a returned item and
       represented regardless of the number of times an item is presented or represented
       to us for payment, and regardless of whether we pay the item or return, reverse, or
       decline to pay the item.



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https://www.wpcu.coop/en-
us/PDFDocuments/Important%20Account%20Information%20Disclosure%20-%20WPCU.pdf




      96.    Railroad & Industrial Federal Credit Union states,

      Consequently, because we may charge an NSF fee for an NSF item each time it is
      presented, we may charge you more than one NSF fee for any given item.
      Therefore, multiple fees may be charged to you as a result of a returned item and
      resubmitted to us for payment, and regardless of whether we pay the item or
      return, reverse, or decline to pay the item.

https://www.rifcu.org/Documents/Disclosures/Account-Terms-Conditions.aspx

      97.    Partners 1st Federal Credit Union states.

      Consequently, because we may charge a fee for an NSF item each time it is
      presented, we may charge you more than one fee for any given item. Therefore,
      multiple fees may be charged to you as a result of a returned item and
      resubmission regardless of the number of times an item is submitted or
      resubmitted to us for payment, and regardless of whether we pay the item or
      return, reverse, or decline to pay the item.

https://www.partners1stcu.org/uploads/page/Consumer_Account_Agreement.pdf

      98.    Members First Credit Union states,

      We reserve the right to charge an Non-Sufficient Funds Fee (NSF Fee) each time
      a transaction is presented if your account does not have sufficient funds to cover
      the transaction at the time of presentment and we decline the transaction for that
      reason. This means that a transaction may incur more than one Non-
      Sufficient Funds Fee (NSF Fee) if it is presented more than once . . . we
      reserve the right to charge a Non-Sufficient Funds (NSF Fee) for both the original
      presentment and the representment [.]

http://www.membersfirstfl.org/files/mfcufl/1/file/Membership_and_Account_Agreement.pdf

      99.    Community Bank, N.A. states,

      We cannot dictate whether or not (or how many times) a merchant will submit a
      previously presented item. You may be charged more than one Overdraft or NSF
      Fee if a merchant submits a single transaction multiple times after it has been
      rejected or returned.


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https://cbna.com/u/header/2019-Overdraft-and-Unavailable-Funds-Practices-Disclosure.pdf




       100.   RBC Bank states,

       We may also charge against the Account an NSF fee for each item returned or
       rejected, including for multiple returns or rejections of the same item.

https://www.rbcbank.com/siteassets/Uploads/pdfs/Service-Agreement-for-Personal-
Accounts.pdf

       101.   Diamond Lakes Credit Union states,

       Your account may be subject to a fee for each item regardless of whether we pay
       or return the item. We may charge a fee each time an item is submitted or
       resubmitted for payment; therefore, you may be assessed more than one fee as a
       result of a returned item and resubmission(s) of the returned item.

https://www.diamondlakesfcu.org/termsconditions.html

       102.   Parkside Credit Union states,

       If the Credit Union returns the item, you will be assessed an NSF Fee. Note that
       the Credit Union has no control over how many times an intended payee may
       resubmit the same check or other item to us for payment. In the event the same
       check or other item is presented for payment on more than one occasion, your
       account will be subject to an additional charge on each occasion that the item is
       presented for payment. There is no limit to the total fees the Credit Union may
       charge you for overdrawing your account.



https://www.parksidecu.org/_/kcms-doc/1043/44277/Membership-and-Account-
Agreement.pdf?__cf_chl_captcha_tk__=add6ebea42df3385074decd4b16c1f86a8369dc9-
1580434763-0-AfXmB7FcyYTqzK9oMNbMSKM6k5fnKS5Xf-z7p3Tv-
Pt951tDs7wM8yaaIV06w718t2nomyWR1Q8COwgpfgE07FJWZUeFkJN6lxbXDZG1SvidTWh
Ym9l85AbCd5afw2imyGdtdzKhXl9bQ9TYkjOlTVM4w8OFJOtE3wVIHrEITnQnSfoR5mZxM
5O0bu4f_FHoHiJj0XsjNkVoGblk0-lti6-gMn-Wcu_o87SGQW6dOUF2i6rHGiM_CkdI-
ULanKI2NS3KlhkYAuNatN9Jdwr7Plc6oJozMbZQeczuO7VlbRnuCFD0tjzkw1lsnof7uaRvLRA
kfKYi3wh0tUU1c_Y6N4aH1qN8SPftOn8TYJHO7OoILvpMfamNTqv_djpbUl3GVA




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       103.    Independent provides no such disclosure, and in so doing, deceives its

accountholders.

   C. The Imposition of Multiple Fees on a Single Transaction Breaches Independent’s

       Duty of Good Faith and Fair Dealing

       104.    Parties to a contract are required not only to adhere to the express conditions in the

contract, but also to act in good faith when they are invested with a discretionary power over the

other party. This creates an implied promise to act in accordance with the parties’ reasonable

expectations and means that Independent is prohibited from exercising its discretion to enrich itself

and gouge its customers. Indeed, Independent has a duty to honor transaction requests in a way

that is fair to Plaintiff and its other customers and is prohibited from exercising its discretion to

pile on ever greater penalties on the depositor.

       105.    Here—in the adhesion agreements Independent foisted on Plaintiff and its other

customers—Independent has provided itself numerous discretionary powers affecting customers’

credit union accounts. But instead of exercising that discretion in good faith and consistent with

consumers’ reasonable expectations, Independent abuses that discretion to take money out of

consumers’ account without their permission and contrary to their reasonable expectations that

they will not be charged multiple fees for the same transaction.

       106.    Independent abuses the power it has over customers and their credit union accounts

and acts contrary to reasonable expectations under the Account Documents when it construes the

word “item” to mean each iteration of the same payment. This is a breach of Independent’s implied

covenant to engage in fair dealing and to act in good faith.

       107.    Further, Independent maintains complete discretion not to assess NSF Fees on

transactions at all. By exercising its discretion in its own favor—and to the prejudice of Plaintiff




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and other customers—by charging more than one NSF Fee on a single item, Independent breaches

the reasonable expectation of Plaintiff and other customers and in doing so violates the implied

covenant to act in good faith.

       108.    It was bad faith and totally outside Plaintiff’s reasonable expectations for

Independent to use its discretion to assess two or more fees for a single attempted payment.

       109.    When Independent charges multiple fees, Independent uses its discretion to define

the meaning of “item” in an unreasonable way that violates common sense and reasonable

consumer expectations. Independent uses its contractual discretion to set the meaning of those

terms to choose a meaning that directly causes more NSF Fees.

III.   INDEPENDENT CHARGES TWO OON FEES PER TRANSACTION

       A.      Mechanics of Domestic Out of Network ATM Withdrawals

       110.    When consumers use ATMs not owned by their own bank, federal law requires the

owners of those out- of- network ATMs to inform users of the amount of the usage fees charged

by the ATM owner. See 15 U.S.C. § 1693b(d)(3).

       111.    Thus, it is standard at ATMs in the United States that when a consumer uses an

ATM not owned by his home bank, a message is displayed on the screen stating that usage of the

ATM will cost a specified amount to proceed with a withdrawal of funds, and that such a fee is in

addition to a fee that may be assessed by a consumer’s financial institution for use of the ATM.

       112.    That message appears only after a user has decided to perform a cash withdrawal

and entered the amount of cash he or she would like to withdraw.

       113.    Through repeated exposure to such fee warning messages, consumers are

accustomed to being warned of fee assessments at out-of-network ATMs - and to being provided




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with the opportunity to decide whether the fees charged are reasonable - before proceeding with

their cash withdrawal.

       114.    Defendant knows this—that consumers expect a fair fee disclosure at the ATM—

and has designed a scheme to assess OON Fees on balance inquiries and exploit consumers’

reasonable expectation that they will be provided an opportunity to cancel actions before being

assessed a fee. That scheme involves assessing fees for the mere act of checking a balance before

proceeding with a cash withdrawal.

       115.    The ATM screen does not disclose that a balance inquiry alone will incur a usage

fee, and indeed ATM owners in the United States in general do not charge usage fees for balance

inquiries. Thus, there is simply no warning at the ATM that a balance inquiry alone could incur a

fee.

       116.    As a result, reasonable consumers have zero expectation that their home bank will

charge a separate fee for a balance inquiry, especially one that precedes a cash withdrawal at the

same ATM.

       117.    If a bank is going to charge such a surprising fee, it must fully and fairly disclose

such a fee in its account documentation. Defendant did the opposite—providing express and

implied indications in its contract that balance inquires would not incur OON Fees.

       B.      Defendant’s Account Contract

       118.    Plaintiff has a Independent Bank checking account, which is governed by

Defendant’s standard account agreement.

       119.    Defendant issues debit cards to its checking account customers, including Plaintiff,

which allows its customers to have electronic access to their checking accounts for purchases,

payments, and ATM withdrawals at both Defendant and non-Defendant ATMs.




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       120.       Against the backdrop of the reasonable consumer expectations and federal law

above, Defendant’s contractual disclosures deceive consumers and reinforce the reasonable

understanding that no fee will be assessed for a balance inquiry—especially since ATM users are

not warned beforehand.

       121.       Defendant’s disclosures also reinforce the reasonable understanding that there can

be no balance inquiry fee when such an inquiry is in conjunction with a cash withdrawal at the

same ATM.

       122.       Pursuant to Defendant’s Fee Schedule in effect at the time of the relevant

transactions:

                  Debit card: Foreign ATM transactions $2.00

       123.       In short, Defendant states that it may impose a single $2.00 OON Fee on

“transactions.”

       124.       The Electronic Funds Transfer Disclosure states:

  ATM FEES. When you use an ATM not owned by us, you may be charged a fee by the ATM
  operator or any network used, and you may be charged a fee for a balance inquiry even if you
  do not complete a fund transfer.

       125.       When a cash withdrawal is made at the same time as a balance inquiry at an out of

network ATM, Defendant’s account documents indicate to reasonable consumers that those

functions count as a single “transaction” triggering a single OON Fee assessment of $2.

       126.       Defendant and its customers, including Plaintiff, contractually (and uniformly)

agree that should the customer, including Plaintiff, make a balance inquiry and a cash withdrawal,

the customer, including Plaintiff, will pay a fee of no more than $2.




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       127.    A balance inquiry, whether standing alone or in conjunction with a cash

withdrawal, is not reasonably understood as a “transaction” as that term is used in the Electronic

Funds Transfer Agreement.

       128.    Merriam-Webster defines “transaction” to mean “something transacted; especially:

an exchange or transfer of goods, services, or funds.” There is no exchange or transfer involved in

a balance inquiry; a balance inquiry is merely a precursor to the actual “transaction”—the cash

withdrawal.

       129.    Moreover, accountholders using a non-Defendant ATM are never warned that they

will receive two separate fees from Defendant—plus another one from the ATM owner—when

they check their balance before proceeding with a cash withdrawal at the same ATM. Yet that is

exactly what happens.

       130.    As discussed supra, ATMs do not warn that such a balance inquiry will be the basis

for a fee, either from the ATM owner or from the consumer’s own bank. Defendant’s disclosures

do nothing to disabuse consumers of the reasonable expectation that a balance inquiry will not

incur a separate fee when it precedes a cash withdrawal at the same ATM, and never state outright

that such a fee will be assessed even when conducted absent a subsequent cash withdrawal. Again,

the Fee Schedule says nothing more than “$2 per transaction.”

       131.    Moreover, reasonable consumers like Plaintiff do not understand—and are never

warned—that a mere balance inquiry (in which no funds are transferred in any way) counts on its

own as a separate “transaction” that could be the basis for an independent OON Fee by

Independent.

       132.    Defendant’s disclosure that the ATM owner “may” charge a fee for a balance

inquiry “even if you do not complete a fund transfer” solidifies customers’ reasonable expectation




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that they will not be charged such a fee by Independent, because there is no disclosure whatsoever

that Independent will in fact assess such a charge. This is problematic for several reasons.

       133.    First, as in Plaintiff’s case here, ATM owners generally do not charge such fees

(and therefore do not disclose such fees since they are required by federal law to do so on screen

before assessing them). Independent, by warning its customers that ATM owners “may” assess a

fee on a balance inquiry even if there is no withdrawal of funds, but not advising its customers that

it will assess such a charge, creates a reasonable expectation by its customers that it will not impose

such fees.

       134.    Second, even if ATM owners did charge such fees, the “even if you do not complete

a fund transfer” phrase indicates that a consumer will not be charged a separate OON Fee for a

balance inquiry if he does complete a fund transfer (and therefore does pay an OON Fee for that

cash withdrawal)—especially where, as here, the ATM owner does not charge separate fees for

balance inquiries and never provides an on-screen warning that either it or the consumer’s bank

will do so.

       135.    The reasonable consumer understanding that a balance inquiry is not itself an

independent transaction or basis for a fee is the very reason the “even if you do not complete a

fund transfer” is necessary. Indeed, the warning would be nonsensical if it was generally

understood that the balance inquiry was an independent transaction worthy of a fee.

       136.    In other words, if the balance inquiry and the transaction (withdrawal) were not

linked and intrinsic to each other in the minds of reasonable consumers—there would be no need

to disclose the special case of when they are de-linked.

       137.    Nowhere does Defendant’s standard account agreement ever identify a fee that

Independent will change for a balance inquiry.




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        138.        Defendant’s specific warning to its customers that the third-party ATM operator

may assess a fee on the balance inquiry even if no cash withdrawal is subsequently made is

significant because, as to Defendant’s own practice, Defendant never asserts the same. Defendant

clearly understands the importance of clarifying that third-party ATM operators may charge a

standalone fee on balance inquiries, and yet declines to specifically inform customers that

Defendant’s uniform practice is to do likewise. More egregious still is that Defendant certainly

never informs customers that not only does it assess a fee on balance inquiries even in the absence

of cash withdrawals, but that where a customer conducts a balance inquiry and a cash withdrawal,

Defendant will assess a fee on both actions.

        C.          Plaintiff’s Domestic Out of Network ATM Withdrawals


        139.        As examples, on April 14, 2017, March 11, 2019, December 31, 2019, Plaintiff

withdrew $cash from an out of network ATM. Prior to withdrawing the cash, Plaintiff was

prompted to check her balance, and she did so. The ATM owner charged Plaintiff a usage fee for

the cash withdrawal but did not charge a fee for the balance inquiry. Defendant, however, charged

Plaintiff two OON Fees of $2 each—one for the withdrawal and one for the “balance inquiry.”

        140.        A balance inquiry made in the course of a cash withdrawal is not a separate

“transaction,” pursuant to the governing contract.

        141.        Defendant’s contract does not disclose that a $2 balance inquiry fee will be charged

by anyone, much less by Defendant itself, when a balance inquiry precedes a cash withdrawal at

the same out of network ATM.

        142.        Defendant’s contract does not disclose that Defendant imposes a fee on balance

inquiries at all.




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       143.    Indeed, the only time “balance inquiry fee” appears in Defendant’s Fee Schedule

or account documents is to inform customers that a third-party may assess such a fee, not that

Defendant itself uniformly assesses such a fee.

                               CLASS ACTION ALLEGATIONS

       144.    Plaintiff brings this action on behalf of herself and all others similarly situated

pursuant to Rule 23 of the Federal Rules of Civil Procedure. This action satisfies the numerosity,

commonality, typicality, adequacy, predominance and superiority requirements of Rule 23. The

proposed classes are defined as:

       145.    Plaintiff brings this action on behalf of herself and on behalf of all others similarly

situated. The Classes are defined as:

       All accountholders who, during the applicable statute of limitations, were charged
       OD Fees on APPSN Transactions on an Independent checking account (the “OD
       Fees Class”).

       All accountholders who, during the applicable statute of limitations, were charged
       multiple NSF Fees on the same item on an Independent checking account (the
       “Multiple Fees Class”).

       All accountholders who, during the applicable statute of limitations, were charged
       two OON Fees by Independent for a single cash withdrawal at an out of network
       ATM (the “OON Fees Class”).

       146.    Excluded from the Classes are Defendant, Defendant’s subsidiaries and affiliates,

their officers, directors and member of their immediate families and any entity in which Defendant

has a controlling interest, the legal representatives, heirs, successors or assigns of any such

excluded party, the judicial officer(s) to whom this action is assigned, and the members of their

immediate families.

       147.    Plaintiff reserve the right to modify or amend the definition of the proposed Classes

and/or to add a subclass(es), if necessary, before this Court determines whether certification is



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appropriate.

       148.       The questions here are ones of common or general interest such that there is a well-

defined community of interest among the members of the Classes. These questions predominate

over questions that may affect only individual class members because Independent has acted on

grounds generally applicable to the class. Such common legal or factual questions include, but are

not limited to:

       a) Whether Independent improperly charged OD Fees on APPSN Transactions;

       b) Whether Independent improperly charged multiple NSF Fees on the same item;

       c) Whether Independent improperly assessed two OON Fees for a single cash withdrawal;

       d) Whether the conduct enumerated above violates the contract;

       e) Whether the conduct enumerated above violates the covenant of good faith and fair
          dealing;

       f) The appropriate measure of damages.

       149.       The parties are numerous such that joinder is impracticable. Upon information and

belief, and subject to class discovery, the Classes consist of thousands of members or more, the

identity of whom are within the exclusive knowledge of and can be ascertained only by resort to

Independent’s records.       Independent has the administrative capability through its computer

systems and other records to identify all members of the Classes, and such specific information is

not otherwise available to Plaintiff.

       150.       It is impracticable to bring members of the Classes individual claims before the

Court. Class treatment permits a large number of similarly situated persons or entities to prosecute

their common claims in a single forum simultaneously, efficiently and without the unnecessary

duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

judgments that numerous individual actions would engender. The benefits of the class mechanism,




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including providing injured persons or entities with a method for obtaining redress on claims that

might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in the management of this class action.

          151.   Plaintiff’ claims are typical of the claims of the other members of the Classes in

that they arise out of the same wrongful business practices by Independent, as described herein.

          152.   Plaintiff is a more than adequate representative of the Classes in that Plaintiff are

Independent checking accountholders and have suffered damages as a result of Independent’s

contract violations. In addition:

             a) Plaintiff are committed to the vigorous prosecution of this action on behalf of
                herself and all others similarly situated and has retained competent counsel
                experienced in the prosecution of class actions and, in particular, class actions on
                behalf of accountholders against financial institutions;

             b) There is no conflict of interest between Plaintiff and the unnamed members of the
                Class;

             c) Plaintiff anticipate no difficulty in the management of this litigation as a class
                action; and

             d) Plaintiff’ legal counsel has the financial and legal resources to meet the substantial
                costs and legal issues associated with this type of litigation.

          153.   Plaintiff knows of no difficulty to be encountered in the maintenance of this action

that would preclude its maintenance as a class action.

          154.   Independent has acted or refused to act on grounds generally applicable to the class,

thereby making appropriate corresponding declaratory relief with respect to the Class as a whole.

          155.   All conditions precedent to bringing this action have been satisfied and/or waived.


                       BREACH OF CONTRACT INCLUDING THE
                    COVENANT OF GOOD FAITH AND FAIR DEALING
                         (Individually and on Behalf of the Classes)
          156.   Plaintiff repeats and incorporates all of the preceding allegations as if fully set forth

herein.


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       157.    Plaintiff, and all members of the proposed Classes contracted with Independent for

checking account services, including debit card services.

       158.    Independent breached promises made to Plaintiff and all members of the proposed

class when as described herein, Independent charged OD Fees as a result of transactions that did

not overdraw a checking account, on APPSN Transactions.

       159.    Independent breached promises made to Plaintiff and all members of the proposed

class when as described herein, Independent charged multiple NSF Fees on the same items.

       160.    Independent breached promises made to Plaintiff and all members of the proposed
class when as described herein, Independent charged two OON Fees for a cash withdrawal

preceded by a balance inquiry.

       161.    In addition, there exists an implied covenant of good faith and fair dealing in all

contracts that neither party shall do anything which will have the effect of destroying or injuring

the right of the other party to receive the fruits of the contract. Good faith and fair dealing, in

connection with executing contracts and discharging performance and other duties according to

their terms, means preserving the spirit – not merely the letter – of the bargain. Put differently,

the parties to a contract are mutually obligated to comply with the substance of their contract in

addition to its form. Evading the spirit of the bargain and abusing the power to specify terms

constitute examples of bad faith in the performance of contracts.

       162.    Subterfuge and evasion violate the obligation of good faith in performance even

when an actor believes their conduct to be justified. Bad faith may be overt or may consist of

inaction, and fair dealing may require more than honesty. Examples of bad faith are evasion of

the spirit of the bargain, willful rendering of imperfect performance, abuse of a power to specify

terms, and interference with or failure to cooperate in the other party’s performance.

       163.    The implied covenant of good faith and fair dealing applies to the performance and

enforcement of contracts, limits the parties’ conduct when their contract defers decision on a

particular term, omits terms, or provides ambiguous terms.




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       164.    Independent has breached the covenant of good faith and fair dealing and abused

its discretion in its contract as described herein. Specifically, Independent should not have used

its discretion to charge OD Fees on APPSN Transactions or multiple NSF Fees on the same

transaction. The Account Agreements do not have a contract term permitting OD Fees on such

transactions, nor multiple NSF Fees on the same transaction, and the documents are otherwise

ambiguous as to any right for Independent to charge OD Fees on APPSN Transactions or multiple

NSF Fees on the same transaction.

       165.    Independent breaches the covenant of good faith and fair dealing and abuses its
discretion when it considered a balance inquiry to be a “transaction.”

       166.    Plaintiff and all members of the proposed Classes have performed all, or

substantially all, of the obligations imposed on them under the contract.

       167.    Plaintiff and all members of the proposed Classes have sustained damages as a

result of Independent’s breaches of the contract.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, demand a jury trial on

all claims so triable and judgment as follows:

   A. Certification for this matter to proceed as a class action on behalf of the Classes;

   B. Declaring Independent’s OD Fee and multiple fee policies and practices to be in breach of

       its contract with accountholders;

   C. Restitution of all OD Fees, multiple NSF Fees and improperly assessed OON Fees paid to

       Independent by Plaintiff and the members of the Classes, as a result of the wrongs alleged

       herein in an amount to be determined at trial;

   D. Actual damages in an amount according to proof;

   E. Pre-judgment and post-judgment interest at the maximum rate permitted by applicable law;

   F. For costs and attorneys’ fees under the common fund doctrine, and all other applicable law;



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       and

   G. Such other relief as this Court deems just and proper.


                                DEMAND FOR JURY TRIAL

               Plaintiff, on behalf of herself and the Class, hereby demand a trial by jury on all

claims so triable.


Dated: May 19, 2020                  Respectfully submitted,



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